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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION at ASHLAND

CRIMINAL ACTION NO. 08-07-DLB-1


UNITED STATES OF AMERICA,                                                              PLAINTIFF,


V.                            MAGISTRATE JUDGE’S REPORT
                                 & RECOMMENDATION


ROGER A. BROWNE,                                                                    DEFENDANT.

                                         *** *** *** ***

       This matter is before the Court on the Defendant’s pro se motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255. [R. 358]. Consistent with local practice, this

matter has been referred to the undersigned for preparation of a Report and Recommendation. The

matter having been fully briefed, and after determining that an evidentiary hearing is not necessary,

it is recommended that the Defendant’s motion for post-conviction relief be denied.

                       I. FACTUAL & PROCEDURAL BACKGROUND

       Roger A. Browne is a medical doctor who was charged by way of indictment with violating

21 U.S.C. § 846 by participating in a conspiracy to distribute oxycodone throughout a number of

counties in eastern Kentucky in violation of 21 U.S.C. § 841(a). [Rs. 1, 13, 42, 108]. On November

13, 2008, Browne appeared before United States District Judge David L. Bunning and entered a plea

of guilty to Count 1 of the Superseding Indictment. [R. 174]. To support the factual basis of his

guilty plea, Browne admitted that at the relevant times he was a physician at a pain management

clinic in Florida. As part of his practice, Browne would frequently see patients from Kentucky and

prescribe them oxycodone, despite being aware of a high probability that some of those individuals
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were unlawfully distributing the pills. [R. 370, Transcript of Rearraignment at 62-63; R. 268, Plea

Agreement at 1-8]. Browne further admitted that his knowledge of this arrangement was based on

the high volume of persons traveling from Kentucky to Florida to seek pain medication at his clinic

and the fact that another co-conspirator, “Burchett”, and a cooperating witness, “RC”, were directing

individuals from Kentucky to see Browne for treatment. [R. 370 at 63]. Despite his knowledge that

oxycodone prescribed by him was likely being distributed illegally, Dr. Browne continued to

prescribe oxycodone to persons from Kentucky, including those referred to him by Burchett and RC.

[Id.].

         Following his plea of guilty, Browne appeared before the Court for sentencing proceedings

on March 9, 2009. [R. 283]. Although the United States recommended a 23-month sentence,

Browne was ultimately sentenced to 30 months imprisonment to be followed by three years of

supervised release. [R. 293]. Browne did not file a direct appeal, but on January 26, 2010, he filed

the present motion attacking his guilty plea, conviction, and sentence on numerous grounds. [R.

358].

                                         II. JURISDICTION

         As a threshold matter, the Court must first determine whether it has jurisdiction to consider

Browne’s motion. Motions under § 2255 can only be brought by federal prisoners who are “in

custody under sentence of a court ... .” 28 U.S.C. § 2255(a). Browne completed his term of

imprisonment and was released from federal custody on June 18, 2010.1 As stated above, however,



         1
          The Bureau of Prisons maintains an on-line Inmate Locator Service which allows the public to
track the location of federal inmates. This service indicates that Browne was released from federal
custody on June 18, 2010. Pursuant to Fed.R.Evid. 201(c), the Court may take judicial notice of the
information provided on the Inmate Locator Service. See Meador v. O’Brien, No. 04-cv-224-HRW, 2005
WL 2133598, *4 (E.D. Ky. Aug. 31, 2005).

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he was also sentenced to a term of three years supervised release. Since that term remains in effect,

Browne’s § 2255 motion is not moot because a favorable decision could redress an injury - his

continued supervision - caused by an allegedly unconstitutional conviction. See United States v.

Zack, 173 F.3d 431, 1999 WL 96996, *1 (6th Cir. Feb. 1, 1999) (table) (“A defendant serving a term

of supervised release is ‘in custody’ for the purposes of § 2255.”). Furthermore, because Browne

filed the motion before his term of imprisonment was completed, the Court is obligated to consider

it. See Hampton v. United States, 191 F.3d 695, 697 (6th Cir. 1999) (“Where a prisoner’s sentence

is not fully expired at the time of filing, but expires during the litigation of the collateral attack, the

proceeding does not become moot.”).

                  III. WAIVER OF THE RIGHT TO COLLATERAL ATTACK

        Before proceeding to the merits of Browne’s many claims, the Court must also address the

fact that Browne’s plea agreement contains a waiver of his right to file a motion for post-conviction

relief. In his plea agreement, Browne agreed to waive “the right to appeal and the right to attack

collaterally the guilty plea, conviction, and sentence, including any order of restitution.” [R. 268 at

9]. A defendant is generally bound by such a waiver so long as it is made knowingly, intelligently,

and voluntarily. United States v. Fleming, 239 F.3d 761, 763 - 64 (6th Cir. 2001); Watson v. United

States, 165 F.3d 486, 489 (6th Cir. 1999) (“a defendant's informed and voluntary waiver of the right

to collaterally attack a sentence in a plea agreement bars such relief.”). To determine whether the

waiver is binding, “the proper inquiry under Rule 11 is whether the defendant was informed of and

understood the terms of the plea agreement.” United States v. Sharp, 442 F.3d 946, 951 (6th

Cir.2006); see also United States v. Broom, 207 Fed. Appx. 565, 569 (6th Cir.2006)(“Rule

11(b)(1)(N) does not necessitate a district court to specifically ask a defendant whether he or she



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understands the terms of the appellate waiver provision. It only requires a court to ‘determine’ that

the defendant understands the terms of such provision.”). Either the district judge or the prosecutor

may address the components of the waiver provision in open court, so long as the district judge

determines that the defendant understands the terms of the waiver. See Sharp, 442 F.3d at 950-51.

       The record reveals that Browne’s waiver was made both knowingly and voluntarily. The

waiver provision of Browne’s plea agreement was addressed numerous times throughout the

rearraignment proceedings. First, in summarizing Browne’s plea agreement, the prosecutor

explained that “all of the defendants have waived their right to appeal as well as the right to file a

separate lawsuit in which they would challenge the validity of their guilty plea, the resulting

conviction and any sentence imposed by the Court.” [R. 370, Rearraignment Transcript at 31]. The

Court then verified that Browne and his co-defendants understood the implications of the collateral

attack waiver:

       THE COURT:              Now, the prosecutor referenced you can't file a separate
                               lawsuit, I think, is the words he used. Where it says in your
                               plea agreements you're giving up your right to attack
                               collaterally the guilty plea, conviction and sentence, that
                               means you can't come back later and file what's referred to as
                               a 2255 motion, alleging that your constitutional rights were
                               violated in some way throughout this process. Do you each
                               understand that?

       BROWNE:                 Yes, sir.

[Id. at 51-52]. Based on this colloquy the Court found that Browne’s waiver of the right to collateral

attack was knowing and voluntary and that he understood the consequences of his waiver. [Id. at 52].

Browne does not challenge this finding in his § 2255 motion.

       Despite his knowing and voluntary waiver of the right to collateral attack, a number of

Browne’s claims must nevertheless be addressed because they arguably “go to the very validity of


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[the] guilty plea.” In re Acosta, 480 F.3d 421, 422 (6th Cir. 2007). Browne makes numerous

allegations regarding the validity of his guilty plea. Among other things, he alleges that defense

counsel performed ineffectively during the plea negotiation process, that his plea was not knowing

and voluntary, that he was coerced and intimidated into pleading guilty, that his plea was based on

promises not contained in the plea agreement, and that he was immune from prosecution. For the

reasons discussed in more detail below, none of Browne’s allegations undermine the validity of his

guilty plea.

                             IV. VALIDITY OF THE GUILTY PLEA

       While many of Browne’s allegations are undeveloped, difficult to follow, speculative, or

amount to nothing more than personal insults directed against defense counsel, the prosecutor, and

the presiding Judge, the Court is required to construe his pro se pleadings liberally and give Browne

the benefit of the doubt. See Franklin v. Rose, 765 F.2d 82, 84-85 (6th Cir. 1985). Accordingly,

the merits of each of his claims will be addressed to the extent possible.

A.     Ineffective Assistance of Counsel

       A criminal defendant is entitled to effective representation by counsel at all critical stages

of the proceedings, including plea negotiations. See King v. Bobby, 433 F.3d 483, 490 (6th Cir.

2006). To prevail on a claim of ineffective assistance of counsel based on counsel’s advice during

the plea process, a defendant must establish two elements: (1) counsel’s performance fell below an

objective standard of reasonableness, and (2) there is a reasonable probability that, but for counsel’s

errors, the defendant would have pleaded differently. Griffin v. United States, 330 F.3d 733, 736-37

(6th Cir. 2003) (citations omitted). With respect to the first element, the proper measure of attorney

performance is simply reasonableness under prevailing professional norms.               Strickland v.



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Washington, 466 U.S. 668, 688 (1984). Under the second element, the defendant must show merely

that there is a reasonable probability that, but for his attorney’s error, he would not have pled guilty

and insisted ongoing to trial. Griffin, 330 F.3d at 737. “Defendants alleging the ineffective

assistance of counsel bear ‘a heavy burden of proof.’” Pough v. United States, 442 F.3d 959, 966

(6th Cir. 2006) (citing Whiting v Burt, 395 F.3d 602, 617 (6th Cir. 2005)).

1. Promise of a Specific Sentence

         Browne first argues that his attorneys performed ineffectively by advising him that he would

receive a sentence of 23 months imprisonment in exchange for his guilty plea and promise to assist

the United States with other investigations. Contrary to the alleged promise, Browne actually

received a 30-month sentence. Even if defense counsel had in fact promised Browne that he would

receive a specific sentence by pleading guilty, such error did not prejudice Browne. First, the plea

agreement contains no promise of a specific sentence and states in clear terms that any sentencing

recommendation made by the parties does not bind the Court. [R. 268 at 8]. During the Rule 11 plea

colloquy, the Court confirmed that Browne had read and understood the terms of his plea agreement.

[R. 370 at 17-18]. The Court also asked whether anyone made any promises or assurances to Brown

which were not contained in the written plea agreement. Browne replied that they had not. [Id.].

         Second, throughout the rearraignment proceedings, Browne was advised that sentencing

recommendations were not binding and that his sentence would ultimately be determined by the

Court:

         THE COURT:            Generically, I can say that any recommendations by your
                               attorneys or by the government's attorney regarding your
                               ultimate sentence at the end of the case -- usually about three
                               to four months from now, depending on timing, we'll set a
                               sentencing date. There may be recommendations. There may
                               be requests made on your behalf at sentencing. Those things


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                              are up to the Court, ultimately. Does everybody understand
                              that? Mr. Browne?

        BROWNE:               Yes, sir.

[Id. at 28].

        THE COURT:            To the extent there are recommendations at each of your plea
                              agreements regarding what the guidelines should be, those
                              recommendations aren't binding on the probation officer who
                              prepares the presentence report, nor are they binding on me
                              when I ultimately sentence you. Do you each understand that?
                              Mr. Browne?

        BROWNE:               Yes, sir.

[Id. at 46]. The Court further advised Browne that he faced a maximum statutory penalty of twenty

years imprisonment, and Browne affirmed his understanding of that. Id. at 42. Finally, Browne

acknowledged that he could not withdraw his guilty plea if his sentence ended up being more severe

than what was recommended to the Court. [Id. at 47].

        The Sixth Circuit has held that a proper plea colloquy cures any misunderstanding a

defendant may have regarding a plea agreement. See Ramos v. Rogers, 170 F.3d 560, 565 (6th Cir.

1999); Boyd v. Yukins, 99 Fed. Appx. 699, 704-05 (6th Cir. 2004). As outlined above, the Court

conducted a full and proper Rule 11 colloquy, including a detailed explanation of the sentencing

process. On each occasion, Browne affirmed that he understood the sentencing process, that any

sentencing recommendations made by defense counsel, the prosecution, or the probation officer

were not binding on the Court, and that his actual sentence would ultimately be determined by the

Court. “[W]here the court has scrupulously followed the required procedure, ‘the defendant is

bound by his statements in response to that court’s inquiry.’” Baker v. United States, 781 F.2d 85,

90 (6th Cir. 1986) (citing Moore v. Estelle, 526 F.2d 690, 696-97 (5th Cir. 1976)); see also



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Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court carry a strong

presumption of verity.”).

       If Browne had indeed been promised a specific sentence in exchange for his guilty plea, it

was incumbent upon him to reveal that term when the Court asked him whether anyone made any

promises or assurances which were not contained in the written plea agreement. Baker, 781 F.2d

at 89. Instead, Browne remained silent, even while the Court explained in detail how his sentence

would be calculated. Even if Browne had alleged specific and corroborated facts for the Court to

believe his attorney actually promised him a sentence of 23 months if he pled guilty, “the Court

cured any prejudice that might have resulted from such a promise during the plea colloquy by

making it clear the Court, not the parties, would determine his sentence, and Petitioner would be

bound to his plea even if his sentence were more severe than he expected.” Garnica v. United States,

361 F. Supp.2d 724, 737 (E.D. Tenn. 2005); see also Brown v. United States, 75 F.Supp.2d 345, 355

(D.N.J. 1999) (“It has long been settled as a general rule that where an adequate guilty plea hearing

has been conducted, an erroneous prediction or assurance by defense counsel regarding the likely

sentence does not constitute grounds for invalidating a guilty plea on grounds of ineffective

assistance of counsel.”).

       Browne has not alleged any “extraordinary circumstances” that would excuse his failure to

provide truthful answers during rearraignment. Baker, 781 F.2d at 90 (“where Rule 11 procedures

were fully adequate, absent extraordinary circumstances, or some explanation of why defendant did

not reveal other terms, at least when specifically asked to do so by the court, a defendant's plea

agreement consists of the terms revealed in open court ... .”). Browne, by his own admission, is a

highly educated individual. The Court found him competent and capable of entering an informed



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guilty plea. He testified under oath that there were no other agreements or promises that induced

him to enter a plea agreement. He understood that the parties’ sentencing recommendations would

not bind the Court. It was incumbent upon the Defendant to answer the Court’s questions truthfully,

and his failure to do so will not be rewarded by granting collateral relief based upon factual

allegations that directly contradict his prior sworn testimony. Since the Court’s proper Rule 11

colloquy cured any possible errors, Browne is unable to demonstrate that he would have insisted on

going to trial absent his attorney’s alleged promise of a specific sentence.

2. Failure to Contact Potential Witnesses

       Browne also contends that his attorneys rendered ineffective assistance by failing to contact

a witness who may have been able to provide exculpatory evidence. [R. 358 at 6-7]. In his reply

brief, Browne identifies this potential witness as Dr. Howard Newman, Browne’s partner at the pain

management clinic in Florida. [R. 398 at 2]. Although not clearly discernable from his pleadings,

Browne appears to argue that he would not have pled guilty had his attorneys procured the

exculpatory evidence he directed them to.

       “Under Strickland, trial counsel has a duty to investigate his case ... .” Steward v.

Wolfenbarger, 468 F.3d 338, 354 (6th Cir. 2006). “This duty includes the obligation to investigate

all witnesses who may have information concerning his or her client’s guilt or innocence.” Id.

(quoting Towns v. Smith, 395 F.3d 251, 258 (6th Cir. 2005)). While defense counsel undoubtedly

has a duty to investigate potential witnesses, in a § 2255 motion alleging the ineffective assistance

of counsel, the defendant has the burden of showing “what evidence counsel should have pursued

and how such evidence would have been material.” Hutchison v. Bell, 303 F.3d 720, 748 (6th Cir.

2002) (citations omitted). Browne has not satisfied this burden.



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        With respect to Newman, Browne states that he was a potential witness to Browne’s

innocence, but does not summarize what Newman’s testimony would have been or provide an

affidavit from him. Relief cannot be granted based on such bare allegations. See, e.g., Malcum v.

Burt, 276 F.Supp.2d 664, 679 (E.D. Mich. 2003) (ineffective assistance of counsel claim failed

where prisoner did not make an affirmative showing as to what the missing evidence would have

been and prove that the testimony of potential witnesses would have produced a different result);

Dell v. Straub, 194 F.Supp.2d 629, 650 (E.D. Mich. 2002) (vague and speculative allegations that

defense counsel was ineffective for failing to investigate witnesses does not entitle him to relief).

Additionally, Browne’s allegations are in direct contrast to the representations of his attorney, who

states that he contacted the only witness identified by Browne. [R. 377-1, Affidavit of Alex Dathrone

and Brian Butler at 2].2

        The Court further notes that Dr. Newman himself was apparently the subject of an

investigation by the Drug Enforcement Agency. [Id.]. In fact, as part of his plea agreement, Browne

agreed to cooperate with law enforcement in the ongoing investigation of illegal activity at the pain

clinic where Browne and Newman worked. [R. 268, Sealed Supplement to Plea Agreement at 1-2].

Given these circumstances, the Court finds it highly unlikely that Newman would have been willing

to risk self-incrimination by testifying at Browne’s trial. Browne has failed to demonstrate that his

attorneys performed ineffectively by not contacting Dr. Newman as a potential witness.




        2
          The witness contacted by Mr. Dathrone advised “that client has had serious issues with over
prescribing medications in other states and in other employment capacities. Further, that many of client’s
patients had overdosed throughout the years due to client’s prescribing patterns. Witness indicated she
cared deeply for client and did not want the government to keep ‘digging.’ It was her opinion that client
should accept the best possible ‘deal’ and ‘move on.’” [R. 377-1 at 2].

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3. Conflict of Interest

        Browne also claims that his attorneys had a conflict of interest because they are former

prosecutors who previously worked with the Assistant United States Attorney prosecuting Browne’s

case. [R. 358 at 12]. Browne argues that had his attorneys not had a “cozy” relationship with the

prosecutor, they would have been more aggressive in his defense and would have filed the pretrial

motions Browne expected. Browne also believes his attorneys have further demonstrated their

conflict by providing an affidavit that contests Browne’s ineffective assistance of counsel claims.

       Because this case does not involve multiple representation, Browne must show both that his

attorneys had an actual conflict of interest and that he was prejudiced by that conflict. See Whiting

v. Burt, 395 F.3d 602, 618-19 (6th Cir. 2005) (noting that prejudice can only be presumed in cases

like those involving multiple representation where (1) prejudice was obvious or there was a high

probability of prejudice or (2) it is difficult to prove prejudice). To demonstrate prejudice, Browne

must prove that the conflict of interest adversely affected the voluntary nature of his guilty plea. See

United States v. Rahal, 191 F.3d 642, 645 (6th Cir. 1999).

       Browne’s bare assertion that his attorneys had conflicting loyalties because they were

formerly employed as prosecutors is insufficient to establish an actual conflict. Quite the opposite,

defense counsel’s past experience as prosecutors would probably inure to the benefit, not detriment,

of Browne. For example, despite Browne’s inability to cooperate with the Government in related

investigations, his attorneys were nevertheless able to obtain for Browne the full benefit of the plea

agreement, including a recommendation by the Government of a 23-month sentence. Moreover,

Browne has not provided any evidence to suggest that any of counsel’s decisions were motivated

by loyalty to their former employer. There was no discernible conflict of interest in this case.



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4. Remaining Ineffective Assistance Claims

       Browne’s remaining ineffective assistance of counsel claims either do not relate to the

validity of his guilty plea or are so undeveloped that they do not warrant further consideration by

the Court. For example, Browne lists sixteen different motions he expected counsel to file, but

makes no attempt at explaining how the filing of these motions would have changed the result or

caused him to reject the plea agreement. [R. 358 at 6]. As Browne’s attorneys note in an affidavit

accompanying the Government’s response, Browne “was cooperating with the United States in this

matter and as such, filing some of these motions would have been counterproductive. Additionally,

the remaining motions were already addressed by way of Court orders and criminal rules of

discovery and inspection.” [R. 377-1 at 2]. Browne has not demonstrated that his attorneys

performed in an objectively unreasonable manner by not filing the requested motions, and

furthermore, Browne waived his right to bring any post-conviction claims based on ineffective

assistance of counsel. Davila v. United States, 258 F.3d 448, 451 (6th Cir. 2001) (“When a

defendant knowingly, intelligently, and voluntarily waives the right to collaterally attack his or her

sentence, he or she is precluded from bring[ing] a claim of ineffective assistance of counsel based

on 28 U.S.C. § 2255.”).

B.     Guilty Plea was Knowing and Voluntary

       Browne also asserts that his guilty plea was neither intelligent nor voluntary. He claims that

he did not understand what he was pleading guilty to and that he was coerced and intimidated into

entering a guilty plea. These claims would ordinarily be barred by Browne’s waiver of the right to

collateral attack since he did not pursue a direct appeal challenging either the voluntariness or




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intelligence of his guilty plea.3 Waucaush v. United States, 380 F.3d 251, 254 (6th Cir. 2004) (citing

Bousely v. United States, 523 U.S. 614, 621 (1998)). Two circumstances may excuse a defendant’s

failure to challenge the plea on direct appeal: (1) “cause” for the defendant’s failure to pursue an

appeal and “prejudice” that would result from not considering the challenge; or (2) the defendant

was “actually innocent” of the crime to which he pled. Id. (citing Bousely, 523 U.S. at 622).

        Turning first to actual innocence, Browne “must demonstrate that in light of all the evidence,

it is more likely than not that no reasonable juror would have convicted him.” Id. Browne contends

that he is actually innocent because: (1) he had a legitimate medical purpose for prescribing

oxycodone to his Kentucky patients, and (2) the co-defendants and cooperating witness who

implicated Browne in the conspiracy framed him in order to receive more lenient treatment. [R. 358

at 9-10].

        Browne pled guilty to violating 21 U.S.C. § 846 by being willfully blind to the fact that a

number of his patients from Kentucky were seeking prescriptions for oxycodone so they could

distribute the pills to others in violation of 21 U.S.C. § 841. [R. 268, Plea Agreement at 1-8].

Accordingly, Browne’s first claim of innocence, if true, would do nothing to undermine his

conviction. Even if Browne’s Kentucky patients had a legitimate medical need for narcotic pain

medication, that fact alone would not preclude the existence of an agreement to unlawfully distribute

the controlled substances to others after Browne prescribed them to his patients.




        3
          Although Browne also waived the right to appeal his guilty plea, conviction, and sentence, that
waiver does not prevent a defendant from filing a direct appeal challenging the validity of the guilty plea
itself. See United States v. Taylor, 281 Fed. Appx. 467, 468 (6th Cir. 2008); United States v. Webb, 403
F.3d 373, 378 n. 1 (6th Cir. 2005).

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       Browne’s second claim of innocence is likewise unavailing. Not only does Browne fail to

provide any evidence in support of his contention, but the actual evidence in the record points to his

guilt. First, in open court, Browne admitted he continued prescribing oxycodone to individuals

despite being aware of a high likelihood those same patients were illegally distributing the pills. [R.

370 at 62-64]. Second, as detailed in the plea agreement, Browne prescribed oxycodone to a

cooperating witness even after that witness had been terminated as a patient and after Browne

learned that the witness and other co-conspirators were being investigated. [R. 268 at 5-8].

Additionally, law enforcement seized from Browne’s Florida clinic the files of approximately 500

patients from just five Kentucky counties. [Id. at 7]. A reasonable jury could have convicted

Browne based on this evidence, and he has not presented anything to suggest otherwise.

       The Court next addresses whether Browne’s failure to pursue a direct appeal of his guilty

plea may be excused for cause. Since Browne blames his allegedly unknowing and involuntary plea

on misconduct by defense counsel, the Court will give him the benefit of the doubt and presume that

cause has been established.      As discussed in more detail below, however, Browne cannot

demonstrate prejudice because the record contradicts his claim that the guilty plea was unknowing

and involuntary.

1. Knowing and Intelligent Guilty Plea

       A plea “is constitutionally unintelligent if ‘the record reveals that neither [Browne], nor his

counsel, nor the court correctly understood the essential elements of the crime with which he was

charged.’” Waucaush, 380 F.3d at 258 (quoting Bousely, 523 U.S. at 618-19). “[A] plea does not

qualify as intelligent unless a criminal defendant first receives real notice of the true nature of the

charges against him.” Bousley, 523 U.S. at 618 (internal quotation and citation omitted). As



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previously discussed, Browne pled guilty to participating in a conspiracy to illegally distribute

oxycodone. [R. 174]. The elements of this crime are (1) that Browne agreed with one or more

persons to knowingly and intentionally distribute oxycodone, and (2) that at some point during the

existence of the agreement, Browne knew the purpose of the agreement, and deliberately joined the

agreement. [R. 268 at 1]. These elements were clearly set forth in the plea agreement and were

reviewed in detail during the plea colloquy. [R. 380 at 56-57].

       The factual basis for Browne’s guilty plea was his willful blindness to the fact that a number

of his patients from Kentucky were illegally distributing the oxycodone prescribed by him. [R. 370

at 62-63]. Browne now claims he did not understand what was meant by “willful blindness.” [R.

398 at 3-4]. Browne’s claim that he did not understand the plea agreement is belied by his sworn

statements to the Court. After confirming that Browne had enough time to discuss the plea

agreement with his attorneys and that Browne had read the plea agreement before signing it, [R. 370

at 9, 17], the Court asked the prosecutor to summarize the agreement. The prosecutor did so,

resulting in the following discussion:

       MR. DICKEN:            Yes. With regard to Dr. Browne, as we know, he was a
                              physician in Florida at a pain management clinic. He was
                              aware of a high probability that some of the persons from
                              Kentucky to whom he was prescribing oxycodone pills were
                              unlawfully distributing those pills. Dr. Browne's knowledge
                              of this fact was based on the high volume of persons traveling
                              from Kentucky to Florida to see him for their complaints of
                              pain and the fact that Miss Burchett and RC increasingly
                              directed persons from Kentucky to him for treatment.
                              Notwithstanding this knowledge, Dr. Browne deliberately
                              closed his eyes to this obvious fact and continued to prescribe
                              oxycodone pills to persons from Kentucky, including those
                              specifically directed to him by Miss Burchett and RC.

       THE COURT:             Mr. Browne, do you acknowledge that you participated in the
                              conduct as described by Mr. Dicken here this evening?


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        BROWNE:                Yes, sir. Willful blindness, I think, the term is.

        THE COURT:             What's that?

        BROWNE:                Willful blindness.

        THE COURT:             Willful blindness? You didn't ask any questions? You just
                               kept doing it?

        BROWNE:                Sir, I'm a physician. I treat patients.

        THE COURT:             The description provided by the prosecutor is more than
                               treating patients. Otherwise, you wouldn't have pled guilty.

        BROWNE:                What I said before stands. I'm pleading to the willful
                               blindness.

[Id. at 62-64].

        Browne now simply claims that because he is not an attorney, he did not understand what

the term “willful blindness” meant. The prosecutor, however, explained in detail what the term

meant in the context of Browne’s guilty plea: despite knowing that many of his patients from

Kentucky were likely distributing oxycodone, Browne turned a blind eye to this fact and continued

prescribing the substance to those same individuals. Given the prosecutor’s detailed explanation,

Browne’s educational background, and his statements made under oath during the plea colloquy,

the Court is highly skeptical of his claim that he did not understand the elements of the crime he was

pleading guilty to. First, there is no doubt that an agreement existed between Browne and others

whereby Browne would write prescriptions for oxycodone. The only question is whether Browne

knew that the purpose of this agreement was to distribute the oxycodone illegally. A defendant’s

knowledge of a fact may be inferred from willful blindness to the existence of that fact. United

States v. Hoffman, 918 F.2d 44, 46 (6th Cir. 1990). Accordingly, by pleading guilty to “willful

blindness”, Browne was admitting that he knew the purpose of the agreement. Based on the record


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before the Court, Browne’s contention that he did not understand what was meant by “willful

blindness” is not credible.

2. Voluntary Guilty Plea

       Browne also claims he was coerced and intimidated into pleading guilty. Specifically,

Browne contends his own attorneys coerced him into pleading guilty by advising Browne that the

presiding judge did not like him, that Browne faced a foreign jury, and that the result of a trial would

most certainly be 20 years imprisonment. [R. 398 at 2]. Browne also argues that the prosecutor

played a role in coercing the guilty plea by expressing his personal opinion regarding Browne’s guilt

and truthfulness. [Tr. 358 at 11-12]. Once more, however, Browne’s self-serving and unsupported

claim is refuted by the record and his former attorneys’ affidavit.

       At rearraignment, the Court specifically asked Browne whether his guilty plea was voluntary:

       THE COURT: Has anyone forced each of you to enter this plea; that is, I guess easier
       to ask the question, is the decision to enter a guilty plea by each of you a voluntary
       one? Mr. Browne?

       BROWNE: It is.

[R. 370 at 16]. Browne was given the opportunity to tell the Judge about any threats or coercion

underlying his guilty plea, but instead, affirmed that the plea was entirely voluntary. Browne’s

statements in open court “carry a strong presumption of verity” and “constitute a formidable barrier”

in subsequent collateral proceedings. See Blackledge, 431 U.S. at 74. There is simply no credible

evidence of coercion that would cast doubt on Browne’s prior sworn testimony that the plea was

voluntary.

       Browne’s claim of coercion and intimidation is further undermined by defense counsel’s

sworn affidavit:



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       Counsel repeatedly advised client that he may pursue a trial in this matter. Client
       was provided a complete copy of the tendered discovery in this matter and both
       counsel and client spent a great deal of time discussing the materials and any
       potential defenses to them. ... Counsel informed client of the strength of the case
       against him both pretrial and post sentencing.

[R. 377-1 at 1]. By advising Browne of the risks of proceeding to trial and the weaknesses of his

case, defense counsel was simply performing the duties of a competent attorney. While counsel’s

advice may have contributed to Browne’s decision to plead guilty, he has hardly proven that he was

intimidated or coerced into entering his plea.

       Because Browne’s plea was both knowing and voluntary, he cannot show that he was

prejudiced by the failure to pursue a direct appeal of his guilty plea. Accordingly, Browne’s claim

that his plea was not knowing or voluntary is barred by his waiver of the right to collateral attack.

Waucaush, 380 F.3d at 254.

C.     Breach of the Plea Agreement

       Browne’s next claim for relief is based on the Government’s alleged breach of the plea

agreement. The sealed supplement to Browne’s plea agreement stated that in exchange for

Browne’s cooperation in other related investigations, the United States would move for a downward

departure under United States Sentencing Guidelines § 5K1.1 at the time of sentencing. [R. 268,

Sealed Supplement at 1]. As part of Browne’s cooperation, it was contemplated that the prosecution

would move for him to be released from custody “so that he may actively cooperate with law

enforcement in the ongoing investigation of illegal activity by the owner of Americare Health and

Rehabilitation, which is the pain clinic at which Defendant worked during the charged criminal

activity.” [Id. at 1-2]. Browne claims that he was induced into accepting the plea agreement by the

prosecution’s promise that he would be released from custody prior to sentencing. Browne now



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argues that the United States breached the plea agreement by failing to obtain his presentence

release.

       Following the entry of his guilty plea, Browne’s attorneys began preparations to obtain his

release. The facility holding Browne, however, advised that it would not release him because a

detainer had been lodged against Browne based on an unrelated criminal matter in Florida. [R. 377-

1, Affidavit of Alex Dathrone and Brian Butler at 1]. The Government and defense counsel agreed

that Browne should be released only when the Florida detainer was retracted or resolved. [Id.]. Less

than a month before Browne’s sentencing hearing, the Florida detainer was lifted. [Id. at 2].

Because the detainer was resolved so close in time to the date of the sentencing hearing, the

Government did not move for Browne’s release. Although Browne was never released from

custody, and therefore did not render the substantial assistance contemplated by the plea agreement,

the Government nevertheless agreed to recommend a 23-month sentence, well below the guideline

range of 46 to 57 months. [R. 308, Sentencing Transcript at 14]. Twenty-three months is the same

sentence the Government would have recommended had it filed a § 5K1.1 motion based on

substantial assistance. [R. 377-1 at 1]. In essence, Browne received the benefit of the entire plea

agreement without having to fulfill his obligation to secure incriminating information against others.

       “The Government’s failure to adhere to its plea agreement in good faith has been held to

implicate a defendant’s due process rights.” Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000)

(citations omitted). By not raising the Government’s alleged breach of the plea agreement at

sentencing or on direct appeal, however, Browne waived the right to bring this claim in a § 2255

proceeding. Id.; see also Fed. R. Crim. P. 32(d). The default may be excused only if Browne shows

cause and prejudice. Id. (citing United States v. Frady, 456 U.S. 152, 167 (1982)).



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       Unsurprisingly, the only cause for default offered by Browne is the ineffective assistance of

defense counsel. First, Browne claims he did not raise the alleged breach of the plea agreement

during the sentencing hearing because he was told by his attorneys not to address the Court. Second,

Browne claims his attorneys should have moved for a continuance of the sentencing hearing to allow

more time for him to cooperate. Browne contends that while on release pending sentencing, he

would have used the additional time to consult other attorneys and prepare a better defense, although

it is not clear what that defense would have been since Browne had already pled guilty to Count 1

of the indictment.

       Browne’s claim fails for numerous reasons. First, he has failed to establish that counsel

performed ineffectively under the Strickland standard, and therefore cannot demonstrate cause to

excuse his default of this claim. Second, even if counsel had performed ineffectively, thereby

excusing Browne’s default, Browne’s claim is entirely without merit. As discussed previously, the

United States ultimately recommended that Browne be sentenced to 23 months, the same

recommendation it would have made had Browne actually rendered substantial assistance.

Considering Browne received the full benefit of the plea agreement, it can hardly be argued that the

Government acted in bad faith. Moreover, the authority to release Browne from custody pending

sentencing lied with the Court, not the prosecution. See 18 U.S.C. § 3145(c) (a defendant awaiting

sentencing may be released by the judicial officer if it is clearly shown, among other things, that

there are “exceptional reasons” why detention is inappropriate). Since a detainer out of Florida had

been lodged against Browne, it is unlikely that the Court would have ordered his release. Simply

stated, Browne has failed to demonstrate that the Government’s handling of the plea agreement

violated his due process rights. Accordingly, this claim should be denied.



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D.     Immunity from Prosecution

       Browne also claims that he should have been immune from prosecution because he was a

medical doctor licensed to prescribe controlled substances. [R. 358 at 16]. Construing Browne’s

motion liberally, this claim might arguably go to the validity of the plea agreement since Browne

contends that the Court did not have jurisdiction to accept the plea. Browne argues that he should

have been immune from prosecution because he had a legitimate medical reason for prescribing

controlled substances to other members of the conspiracy. In support of this argument, Browne cites

a Tenth Circuit case which held that a physician who is registered and who dispenses controlled

substances in the usual course of professional conduct is immune from prosecution under 21 U.S.C.

§ 841. United States v. Goldstein, 695 F.2d 1228, 1232 (10th Cir. 1983); see also United States v.

Seelig, 622 F.2d 207, 212-13 (6th Cir. 1980) (registered doctors are exempt from criminal liability

under §841(a) unless they were acting outside the usual course of professional practice); United

States v. Moore, 423 U.S. 122, 124 (1975) (“registered physicians can be prosecuted under § 841

when their activities fall outside the usual course of professional practice.”).

       Browne’s claim ignores the fact that he was prosecuted because he was writing prescriptions

outside the usual course of a professional practice. In both the written plea agreement and in open

Court, Browne admitted that he was aware of a high likelihood that many of his Kentucky patients

were illegally distributing the controlled substances Browne prescribed them. Browne nevertheless

turned a blind eye to this fact and continued writing prescriptions for oxycodone to these same

individuals. This conduct can hardly be described as falling within the usual course of a

professional medical practice. See, e.g., United States v. McIver, 470 F.3d 550, (4th Cir. 2006)

(upholding conspiracy conviction of doctor who was willfully blind to his patients’ true motives in



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seeking his care).

       Browne is bound by the facts he admitted in the plea agreement and in open court. Baker,

781 F.2d at 90. Because these facts show that he was acting outside the usual course of a

professional medical practice, there is no basis for Browne’s immunity claim.

       In a related claim, Browne also argues that the Court did not have jurisdiction because the

indictment failed to reference a drug quantity in the conspiracy charge. [R. 358 at 16-19]. This

claim can be summarily denied, however, because the omission of a drug quantity from an

indictment charging a defendant with a drug conspiracy offense does not divest the district court of

jurisdiction. See United States v. Cotton, 535 U.S. 625, 630-31 (2002) (failure of an indictment to

allege drug quantity does not deprive federal courts of jurisdiction); Goode v. United States, 305

F.3d 378, 386 (6th Cir. 2002); United States v. Diaz, 52 Fed. Appx. 810, 811 (6th Cir. 2002).

                                  V. EVIDENTIARY HEARING

       As a final matter, the Court must address whether Browne is entitled to an evidentiary

hearing. He is not. Section 2255 directs the Court to hold an evidentiary hearing “[u]nless the

motion and the files and records of the case conclusively show that the prisoner is entitled to no

relief.” 28 U.S.C. § 2255(b). Thus, to receive a hearing, a defendant must make allegations that raise

at least some possibility of relief. “[N]o hearing is required if the petitioner’s allegations cannot be

accepted as true because they are contradicted by the record, inherently incredible, or conclusions

rather than statements of fact.” Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007)

(quoting Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999)). An evidentiary hearing is

also not required where “there is nothing in the record to indicate that [the] defendant would [be]

able to prove his allegations at an evidentiary hearing.” Amr v. United States, 280 Fed. Appx. 480,



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485 (6th Cir. 2008) Here, all of Browne’s claims regarding the validity of his guilty plea are directly

contradicted by the record. Furthermore, other than his own unsubstantiated and self-serving

statements, Browne has not identified any additional evidence he could present at an evidentiary

hearing. For these reasons, an evidentiary hearing is not required.

                                        VI. CONCLUSION

       For the reasons discussed above, Browne’s guilty plea was made knowingly, intelligently,

and voluntarily. Accordingly, Browne’s remaining claims related to alleged sentencing errors and

other perceived flaws in the proceedings are barred by his valid waiver of the right to collateral

attack. It is therefore RECOMMENDED that the Defendant’s motion to vacate, set aside, or correct

his sentence [R. 358] be DENIED.

       The parties are directed to 28 U.S.C. § 636(b)(1) for a review of appeal rights governing this

Report and Recommendation. Specific objections to this Report and Recommendation must be filed

within fourteen (14) days from the date of service thereof or further appeal is waived. United States

v. Campbell, 261 F.3d 628, 632 (6th Cir. 2001); Thomas v. Arn, 728 F.2d 813, 815 (6th Cir. 1984).

General objections or objections that require a judge’s interpretation are insufficient to preserve the

right to appeal. Cowherd v. Million, 380 F.3d 909, 912 (6th Cir. 2004); Miller v. Currie, 50 F.3d

373, 380 (6th Cir. 1995).

       Signed February 2, 2012.




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